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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

LAZARO MARTINEZ,

      Plaintiff,

v.                                                   Case No.: 6:22-cv-00461-RBD-LHP

LOWE’S HOME CENTERS, LLC,
a Foreign Limited Liability Company,

     Defendant.
_________________________________/

        DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS
            AND CORPORATE DISCLOSURE STATEMENT

      Defendant, Lowe’s Home Centers, LLC (“Defendant”), by and through its

undersigned counsel, hereby discloses the following pursuant to this Court’s Order

on Interested Persons and Corporate Disclosure:

      1.     The name of each person, attorney, association of persons, firm, law

firm, partnership, and corporation that has or may have an interest in a party to this

action or in the outcome of this action, including subsidiaries, conglomerates,

affiliates, parent corporations, publicly-traded companies that own 10% or more of

a party’s stock, and all other identifiable legal entities related to a party:

             a.     Lazaro Martinez (Plaintiff).

             b.     Peter M. Hoogerwoerd, Esq. (Attorney for Plaintiff).
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             c.      Cristobal Bobadilla-Gamboa, Esq. (Attorney for Plaintiff).

             d.      Corey L. Seldin, Esq. (Attorney for Plaintiff).

             e.      Remer & Georges-Pierre, PLLC (Legal Counsel for Plaintiff).

             f.      Lowe’s Home Centers, LLC (Defendant).

             g.      Lowe’s Companies, Inc. (parent corporation of Defendant) is a

                     publicly traded corporation (NYSE: LOW).

             h.      Laura E. Prather, Esq. (Attorney for Defendant).

             i.      Chase H. Hale, Esq. (Attorney for Defendant).

             j.      Jackson Lewis P.C. (Legal Counsel for Defendant).

      2.     The name of every other entity whose publicly traded stock, equity, or

debt may be substantially affected by the outcome of the proceedings:

             None.

      3.     The name of every other entity which is likely to be an active participant

in the proceedings, including the debtor and members of the creditors’ committee

(or if no creditors’ committee, the 20 largest unsecured creditors):

             None.

      4.     The name of each victim (individual and corporate), including every

person who may be entitled to restitution:

             Lazaro Martinez has alleged claims in this lawsuit.




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5.       Check one of the following:

     X         a.    I certify that I am unaware of any actual or potential conflict of

interest involving the District Judge and Magistrate Judge assigned to this case and

will immediately notify the Court in writing upon learning of any such conflict.

               b.    I certify that I am aware of a conflict or bias of recusal of the

District Judge or Magistrate Judge as follows:

DATED this 21st day of March, 2022.

                                        Respectfully submitted by:

                                        JACKSON LEWIS P.C.

                                        /s/ Laura E. Prather
                                        LAURA E. PRATHER, B.C.S.
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                                        Attorneys for Defendant Lowe’s Home
                                        Center, LLC




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                         CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of March, 2022, I filed Defendant’s

Certificate of Interested Persons and Corporate Disclosure Statement with the

Clerk of Court, United States Middle District of Florida – Orlando Division, via

the CM/ECF filing system which will send an electronic notice to counsel of

record.

                                        /s/ Laura E. Prather
                                        Attorney

4889-7589-0449




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